
By the Court,
Savage, C. J.
The only point excepted to before the referees, was their decision that the evidence was sufficient to take the ease out of -the statute of limitations ; and this was the only point. decided by the court of common pleas, as appears by the record, and also by the written opinion of the first judge of that court. Of course no question of evidence can be raised here which was not raised and decided in the court- below.
It has often been remarked that the decisions of courts upon the kind of promise necessary to revive a debt barred by the statute of limitations have been contradictory. I think it will be found, however, that among the numerous decisions of this court, there is none which sustains the decision made in the court below.
The statute which declares that all actions upon contract without specialty, &amp;c. shall be commenced and sued within six years next, after the cause of action acr crued and not after, has sometimes been considered as. affecting the cause of action, and sometimes as affecting the remedy only; and hence it has been argued that if the debt itself is barred arid destroyed, the moral obligation remaining to pay it, is merely the- consideration for a new promise; that -the new promise is the cause of action, and not the old debt; and that therefore the new promise must be express ; a bare admission that the debt was unpaid, not being a ground *168to raise.an implied promise.- On the.other hand;.it is said that the statute does not destroy the. debt itself, but prevents the : remedy upon- it, upon'the presumption that the debt has been-paid. An admission,-therefore,- that the debt is due and unpaid, it is said, raises-an implied, promise to pay it. ■ It is not my intention to enter into any speculation upon this point,, but-simply,to examine-some of-the 'cases decided in this court upon the statute, and to -ascertain what is the rule in such cases.
The earliest .case which -it is necessary to advert to is Sluby v. Champlin, 4 Johns. R. 461. The defendant in that case, when arrested; expressed his surprise that the debt had not been paid by his-partner, and-promised to-meet the plaintiff for the-purpose- of-settling- the accounts, if -the plaintiff ■ would give time for the payment.. ■ Yates, justice, -• says, if ■ a party acknowledges a debt to be un paid, it is such a waiver of the protection of-the- statute as to repel the presumption of payment, being a recognition of the .former liability; 'The judge,' -however,. subsequently remarks; that the defendant had said that the-debt ought to.be paid, and mentioned 18 months as the time he wanted for payment. “ This,” he ¡added, “is a promise sufficient to- make him liable.” -In Bush v. Barnard, 8 Johns. R. 408, the defendant-offeredto pay -in ■ specific articles. The court said the- promise was conditional, and the plaintiff was bound, -to show-that he was ready- and had offered • to- accept- the specific articles. In Dean v. Pitts, 10 Johns. R. 35, the defendant.-admitted the notes upon which the .suit was brought, but said they had been paid ;■ -that he had sent the-money to R. and he supposed R. had not paid the notes,.he, the defendant, would,.and that he would not plead the statute. The court said, that the defendant-admitted the .debt, and did not pretend that he had paid it, but supposed his partner had, -and assumed the burden of proving such payment.' This case, -comes -the nearest to the-case now .before us of any in our reports, and it¡ will -be seen - that there -is a material difference. In the present case the-defendant said the note-was overpaid; he-agreed to submit it to men if the plaintiff would give security for the costs. It does not appear that the.plaintiffs offered to give-such security and claimed the fulfilment: of the promise to submit. Danforth v. Culver, 11 Johns. R. 146, was upon two notes due more than six years before, the commence* ment of the suit. On presenting the' notes to the defendant, he observed they were - outlawed, -and that he meant to avail himself of the statute of limitations. It was held that this did not authorize the jury to presume -a new promise-. In subsequent-eases the court recognize the doctrine, that the.admission of the debt, unaccompanied with a protestation against paying it, is.sufficient to imply a promise to pay-it; 15 Johns. R. 4. 17 id. 330. The case of Sands v. Gelston, 15 id. 511, is justly considered a leading case in this, court.- The subject .was fully -discussed,- and the .decision of the court is clear -and conclusive. - .The defendant succeeded. the - plaintiff-as - collector of • the &lt; customs; ¡and ■ received commissions on bonds, taken by-the plaintiff while in office, more-than six years before the commencement of the suit. Within six years he admitted -the receipt of the money, and that it had not. been paid over-to: the-plaintiff. He frequently said that if the plaintiff- had a claim in law- or equity, he would, submit it to reference, or compromise- the business, but that in his-opinion the plaintiff had no claim. Mr. Justice Spencer gave- the opinion of-the court, and held himself bound by authority tW consider-the acknowledgment of.the existence .of a debt within six years as evidence of a promise to pay. the. debt; .but insisted that if such acknowledgment was qualified at the time in a way to-repel the presumption of a promise, then it will not be-sufficient to take it out of the statute- I am not aware that this doctrine has been departed from subsequently — most certainly it has not intentionally. In Purdy v. Austin, 3 Wendell, 189, the case of Sands v, Gelston is expressly relied on, and Mr. Justice Mare/uses this strong language": “ The unqualified and unconditional acknowledgment of a debt, made by a party with*169in six years before suit brought, is adjudged in law to imply a promise to-pay; but an acknowledgment of its original justice, without recognizing its present existence, is not sufficient.” This is precisely the doctrine of Sands v. Gelston. The ease of Field v. Bradley, 3 Wendell, 272, was decided at the same time with Purdy v. Austin. The same case of Sands v. Gelston was quoted and adopted, and the rule said to be, that a subsisting indebtedness must be admitted in order to imply a promise. So also Mr. Justice Sutherland, in Stafford v. Bryan, 3 Wendell, 535, in the court for the correction of errors, quotes the same doctrine from the ease of Bell v. Morrison, 1 Peters, 351; there must be a present subsisting debt, which the party is willing to pay. In Dean v. Hewitt, 5 Wendell, 257, the defendant said the debt was an honest one and he would pay it when he became able; and his ability was proved. The case of Hancock v. Bliss, 7 id. 268, and Patterson v. Choate, Idem, 445, recognize the rule in Sands v. Gelston, and Bell v. Morrison, that there must be a subsisting indebtedness which the party is liable and willing to pay. See also Soulden v. Van Rensselaer, 9 Wendell, 293.
Whatever therefore may be the true philosophy of the rule, and learned judges have differed on that subject, yet since the ease of Sands v. Gelston there has been no dispute as to what the rule in fact is, to wit: that to revive a debt barred by the statute of limitations, whether the statute theoretically operates upon the debt itself or upon the remedy only, there must be an express promise, or an acknowledgment of a present indebtedness; a subsisting liability and a willingness to pay it. If the 'defendant denies its justice, or claims the protection of the statute, no action lies. If we test the testimony in this case by the above rule, it will be found that the action was not sustained. The principal witness concludes his testimony by saying that in all his conversations which he ever had with the defendant, he invariably insisted that he did not owe the plaintiff, but she owed him. This is very far from admitting an existing demand against him which he is willing to pay.
The counsel for the defendants in error insists that the plaintiff in error is es-topped by his stipulation from availing himself of the statute of limitations. That point cannot now arise. The plaintiffs did not raise any question on that subject in the court below; it is therefore not now before us upon this writ of error. In the case of The Utica Insurance Co. v. Bloodgood, 4 Wendell, 655, it was held that the defendant was estopped by his stipulation from availing himself of the statute of limitations. He had signed a written stipulation, by which he agreed not to plead the statute of limitations in a prosecution on his note. The stipulation was given before the statute had attached. What the pleadings were in that ease does not appear from the report, except that the declaration was on a promissory note, and also on the money counts. Probably the defendant pleaded the statute to the money counts, as upon the trial it was interposed only to such counts. It was held in that case, that though the plaintiffs could not recover upon the note, yet they might recover for money lent, the security being void, but not the contract of lending. It was further said, that the stipulation not to plead the statute was not confined, in its true construction, to the note, but to the debt or loan of which the note was evidence. In that case the question was raised before the referees, and therefore came fairly before the court on a motion to set aside their report. This court did undoubtedly in effect declare, that such a stipulation might be enforced, but in the case now before us it does not come up in a tangible shape.
Judgment reversed.
